905 F.2d 1530Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.William McCoy MOORE, Jr., Petitioner-Appellant,v.David MURPHY;  Attorney General of the State of NorthCarolina, Respondents-Appellees.
    No. 89-6602.
    United States Court of Appeals, Fourth Circuit.
    Submitted Jan. 22, 1990.Decided May 14, 1990.
    
      Appeal from the United States District Court for the Middle District of North Carolina, at Greensboro.  Richard C. Erwin, Chief District Judge.  (C/A No. 87-597-G)
      William McCoy Moore, Jr., appellant pro se.
      Richard Norwood League, Office of the Attorney General, Raleigh, N.C., for appellees.
      M.D.N.C.
      DISMISSED.
      Before WIDENER and WILKINS, Circuit Judges, and HARRISON L. WINTER,* Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      William McCoy Moore, Jr., seeks to appeal the district court's order refusing habeas corpus relief pursuant to 28 U.S.C. Sec. 2254.  Our review of the record and the district court's opinion accepting the recommendation of the magistrate discloses that this appeal is without merit.  Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the district court.  Moore v. Murphy, C/A 87-597-G (M.D.N.C. April 11, 1989).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      DISMISSED.
    
    
      
        *
         The opinion in this case was assigned to a panel which included Judge Winter, who died while the case was pending and did not participate in the decision.  The decision is filed by a quorum of the panel.  28 U.S.C. Sec. 46(d)
      
    
    